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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
                                WESTERN DIVISION


                                                     )
 YOUNG AMERICANS FOR LIBERTY AT                      )
 UNIVERSITY OF MASSACHUSETTS,                        )
 AMHERST; and NICHOLAS CONSOLINI,                    )
                                                     )
                Plaintiffs,                          )
        v.                                           )
                                                     )
 ROBERT J. MANNING, R. NORMAN                        )
 PETERS, JAMES R. BUONOMO, MARY L.                   )
 BURNS, DEREK J. DUNLEA, ROBERT                      )
 EPSTEIN, DAVID G. FUBINI, MARIA D.                  )     Case No. 3:18-cv-30003
 FURMAN, STEPHEN R. KARAM, GRAY R.                   )
 MILKOWSKI, MICHAEL V. O’BRIEN,                      )
 KERRI E. OSTERHAUS-HOULE, IMARI K.                  )     NOTICE OF VOLUNTARY
 PARIS JEFFRIES, JAMES A. PEYSER,                    )     DISMISSAL PURSUANT TO
 MALINDA E. REED, SAMANTHA E. REID,                  )     F.R.C.P. 41(a)(1)(A)(i)
 ELIZABETH D. SCHEIBEL, HENRY M.                     )
 THOMAS III, STEVEN A. TOLMAN,                       )
 VICTOR WOOLRIDGE, CHARLES F. WU,                    )
 and CAMILLA D. YU, each in their individual         )
 capacity and in their official capacities as        )
 members of the Board of Trustees of the             )
 University of Massachusetts; MARTY                  )
 MEEHAN, individually and in his official            )
 capacity as Chancellor, University of               )
 Massachusetts, Amherst; and ENKU GELAYE,            )
 individually and in her official capacity as Vice   )
 Chancellor for Student Affairs and Campus Life,     )
 University of Massachusetts, Amherst,               )
                                                     )
                Defendants.                          )
                                                     )


        NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs Young Americans for Liberty at

University of Massachusetts, Amherst and Nicholas Consolini hereby give notice that this action

is voluntarily dismissed without prejudice.

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Respectfully submitted this 25th day of June, 2018.



                                              COUNSEL,


                                              /s/ J. Caleb Dalton
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                                CERTIFICATE OF SERVICE

         I hereby certify that on June 25, 2018, I electronically filed the foregoing document with
the Clerk of the Court using the ECF system, which will send notification of such filing to all
parties.


       Dated this 25th day of June, 2018, by:


                                                /s/ J. Caleb Dalton
                                                J. Caleb Dalton




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